 

US. DISTRICT COURT
Case 3:18-cr-00432-K Document1 Filed 08/28/18 Pape DErasi aR ain) OF TEXAS

ORIGINAL *

IN THE UNITED STATES DISTRICT COURT AUG 28 2018
FOR THE NORTHERN DISTRICT OF TEXAS

 

 

 

 

 

 

 

 

 

 

 

 

DALLAS DIVISION
UNITED STATES OF AMERICA NO.
V.
ALEXIS ORTIZ (1) S-18CR-432-K
RAFAEL RUBI (2)
AARON WILLIAMS (3)

INDICTMENT
The Grand Jury charges:
Count One

Possession with Intent to Distribute a Controlled Substance; Aiding and Abetting
(Violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2)

On or about April 18, 2018, in the Dallas Division of the Northern District of
Texas, the defendants, Alexis Ortiz and Rafael Rubi, aiding and abetting each other, did
knowingly and intentionally possess with intent to distribute a mixture or substance
containing a detectable amount of heroin, a schedule I controlled substance.

In violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, the penalty for which is

found at 21 U.S.C. § 841(b)(1)(C).

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Count Two
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
(Violation of 18 U.S.C. § 924(c)(1)(A)(@))

On or about April 18, 2018, in the Dallas Division of the Northern District of
Texas, the defendant, Rafael Rubi, did knowingly possess a firearm, to wit: a Glock,
model 19, 9 millimeter pistol, bearing serial number BAVN944, and a Ruger .380 caliber
pistol, bearing serial number 371345961, in furtherance of a drug trafficking crime,
namely, possession with intent to distribute a controlled substance, in violation of 21
U.S.C. § 841(a)(1), as alleged in Count One of this indictment, an offense for which the

defendant may be prosecuted in a court of the United States.

In violation of 18 U.S.C. § 924(c)(1)(A)(i).

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Count Three
Maintaining Drug-Involved Premises; Aiding and Abetting
(Violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2)

On or about April 18, 2018, in the Dallas Division of the Northern District of
Texas, the defendants, Alexis Ortiz and Rafael Rubi, aiding and abetting each other, did
knowingly lease, rent, use, and maintain a residence located at 200 Jellison Boulevard,
Duncanville, Texas, for the purpose of distributing a controlled substance, to wit: heroin,
a schedule I controlled substance; cocaine, a schedule II controlled substance; and

methamphetamine, a schedule II controlled substance.

In violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2.

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Count Four
Possession of a Firearm and Ammunition by a Convicted Felon
(Violation of 18 U.S.C. § 922(g)(1))

On or about April 18, 2018, in the Dallas Division of the Northern District of
Texas, the defendant, Rafael Rubi, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly and unlawfully possess in
and affecting interstate and foreign commerce a firearm and ammunition, to wit: a Glock,
model 19, 9 millimeter pistol, bearing serial number BAVN944; approximately 88 rounds
of 9 millimeter ammunition; a Ruger .380 caliber pistol, bearing serial number 37134596;
and approximately 132 rounds of .45 caliber ammunition.

In violation of 18 U.S.C. § 922(g)(1), the penalty for which is found at 18 U.S.C.

§ 924(a)(2).

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Count Five
Possession of a Firearm by a Convicted Felon; Aiding and Abetting
(Violation of 18 U.S.C. §§ 922(g)(1) and 2)

On or about April 17, 2018, in the Dallas Division of the Northern District of
Texas, the defendants, Rafael Rubi and Aaron Williams, aiding and abetting each other,
both having been convicted of a crime punishable by imprisonment for a term exceeding
one year, did knowingly and unlawfully possess in and affecting interstate and foreign
commerce a firearm, to wit: a Glock, model 30, .45 caliber pistol, bearing serial number
SKA280.

In violation of 18 U.S.C. §§ 922(g)(1) and 2, the penalty for which is found at 18

U.S.C. § 924(a)(2).

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Count Six
Possession of a Firearm and Ammunition by a Convicted Felon
(Violation of 18 U.S.C. § 922(g)(1))

On or about April 17, 2018, in the Dallas Division of the Northern District of
Texas, the defendant, Rafael Rubi, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly and unlawfully possess in
and affecting interstate and foreign commerce a firearm and ammunition, to wit: a Glock,
model 19, 9 millimeter pistol, bearing serial number BAVN944; approximately seven
rounds of Tulammo 9 millimeter ammunition; a Glock, model 30, .45 caliber pistol,
bearing serial number SKA280; and approximately five rounds of Federal .45 caliber
ammunition.

In violation of 18 U.S.C. § 922(g)(1), the penalty for which is found at 18 U.S.C.

§ 924(a)(2).

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Count Seven
Possession of a Firearm and Ammunition by a Convicted Felon
(Violation of 18 U.S.C. § 922(g)(1))

On or about April 13, 2018, in the Dallas Division of the Northern District of
Texas, the defendant, Rafael Rubi, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly and unlawfully possess in
and affecting interstate and foreign commerce a firearm and ammunition, to wit: a Glock,
model 19, 9 millimeter pistol, bearing serial number BAVN944; approximately 15 rounds
of Tulammo 9 millimeter ammunition; a Glock, model 30, .45 caliber pistol, bearing
serial number SKA280; and approximately nine rounds of Tulammo .45 caliber
ammunition.

In violation of 18 U.S.C. § 922(g)(1), the penalty for which is found at 18 U.S.C.

§ 924(a)(2).

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Count Eight
Possession of a Firearm and Ammunition by a Convicted Felon

(Violation of 18 U.S.C. § 922(g)(1))

On or about March 19, 2018, in the Dallas Division of the Northern District of
Texas, the defendant, Rafael Rubi, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly and unlawfully possess in
and affecting interstate and foreign commerce a firearm and ammunition, to wit: a Glock,
model 19, 9 millimeter pistol, bearing serial number BAVN944; and approximately 10
rounds of Tulammo 9 millimeter ammunition.

In violation of 18 U.S.C. § 922(g)(1), the penalty for which is found at 18 U.S.C.

§ 924(a)(2).

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Count Nine
Possession of a Firearm and Ammunition by a Convicted Felon
(Violation of 18 U.S.C. § 922(g)(1))
On or about February 11, 2018, in the Dallas Division of the Northern District of

Texas, the defendant, Rafael Rubi, having been convicted of a crime punishable by
imprisonment for a term exceeding one year, did knowingly and unlawfully possess in
and affecting interstate and foreign commerce a firearm and ammunition, to wit: a Glock,
model 19, 9 millimeter pistol, bearing serial number BAVN944; approximately 18 rounds
of Winchester 9 millimeter ammunition; approximately four rounds of Hornady
9 millimeter ammunition; and approximately one round of Remington 9 millimeter
ammunition.

In violation of 18 U.S.C. § 922(g)(1), the penalty for which is found at 18 U.S.C.

§ 924(a)(2).

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Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c))

Upon conviction for any offense alleged in Counts One through Nine of this
Indictment and pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendants,
Alexis Ortiz, Rafael Rubi, and Aaron Williams, shall forfeit to the United States of
America any firearm and ammunition involved in the commission of the respective
offense, including, but not limited to, the following:

1. a Glock, model 30, .45 caliber pistol, bearing serial number SKA280, and any
ammunition seized with the firearm; and

2. a Ruger .380 caliber pistol, bearing serial number 371345961, and any
ammunition seized with the firearm.

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A TRUE BILL:

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

ALEXIS ORTIZ (1)
RAFAEL RUBI (2)
AARON WILLIAMS (3)

 

INDICTMENT

Violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2
Possession with Intent to Distribute a Controlled Substance; Aiding and Abetting
(Count 1)

Violation of 18 U.S.C. § 924(c)(1)(A)@
Possession of a Firearm in Furtherance of a Drug Trafficking Crime
(Count 2)

Violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2

Maintaining Drug-Involved Premises; Aiding and Abetting
(Count 3)

Violation of 18 U.S.C. § 922(g)(1)
Possession of a Firearm and Ammunition by a Convicted Felon
(Counts 4, 6, 7, 8 and 9)

Violation of 18 U.S.C. §§ 922(g)(1) and 2

Possession of a Firearm by a Convicted Felon; Aiding and Abetting
(Count 5)

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c)
Forfeiture Notice

9-Counts
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DALLAS FOREPERSON

Filed in open court this 28th day of August, 2018.

 

Warrant to be Issued for all Defendants

 

UNITED STATES MAGISTRATE
No Criminal Matter Pending

 
